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CGFI2 (06/27/22)
                                               United States Bankruptcy Court
                                                             Southern District of Florida
                                                               www.flsb.uscourts.gov
                                                                                                                  Case Number: 22−15722−PDR
                                                                                                                  Chapter: 7
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Wilson Fils Lamy
aka Wilson F Lamy, aka Wilson Lamy
5415 Nw 22nd St
Lauderhill, FL 33313
SSN: xxx−xx−2257


                         NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on July 26, 2022, contains one
or more filing deficiency(ies) which must be corrected. Failure to correct a deficiency on or before the deadline posted
below the listed deficiency may result in the document(s) being stricken and/or dismissal of this case without further
notice. Deficiencies in items listed below may include failure to file the document, failure to sign the document, or failure to file
the document using the correct and/or current form that substantially conforms to an Official Bankruptcy Form. Links to all
required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms, instructions and guidelines are on
the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.



                     Copies of all payment advices or other evidence of payment received within 60 days
                     before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                     See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(F). Payment advices are
                     deficient as indicated: Not filed
                     Deadline to correct deficiency: 8/9/22


Please also be advised of the following local requirement(s):

Correcting any deficiency related to filing of petitions, schedules, statements or lists. The Local Form "Debtor's Notice of
Compliance with Requirements for Amending Creditor Information" (LF−04) and the Official Bankruptcy Form "Declaration
About an Individual Debtor's Schedules" must accompany the filing of any paper submitted subsequent to the filing of the initial
service matrix. [See Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D)]. If the paper you are filing to
correct the deficiency requires you to amend your service matrix, please review the "Clerk's Instructions for Preparing,
Submitting and Obtaining Service Matrices" for additional format, fee and other requirements.

Dated:7/27/22                                                                CLERK OF COURT
                                                                             By: Lorenzo Rodriguez , Deputy Clerk
Copies to:     Debtor
               Attorney for Debtor
